                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                COLUMBIA DIVISION

STEPHEN R. MAYES,                                  )
                                                   )
     Plaintiff,                                    )
                                                   )
v.                                                 )        NO. 1:19-cv-00061
                                                   )
JOSEPH ADAM BROWN,                                 )        JUDGE CAMPBELL
                                                   )        MAGISTRATE JUDGE HOLMES
     Defendant.                                    )

                                              ORDER

         Pending before the Court is the Magistrate Judge’s Report and Recommendation (Doc. No.

38), which was filed on September 28, 2020. Through the Report and Recommendation, the

Magistrate Judge recommends Defendant’s motion for summary judgment (Doc. No. 22) be

granted, and this action be dismissed with prejudice. Although the Report advised the parties that

any objections must be filed within 14 days of service, no objections have been filed.

         The Court has reviewed the Report and Recommendation, and concludes it should be

adopted and approved. Accordingly, Defendant’s motion for summary judgment (Doc. No. 22) is

GRANTED, and this action is DISMISSED with prejudice.

         All claims having been dismissed, this Order shall constitute the final judgment in this case

pursuant to Fed. R. Civ. P. 58.

         It is so ORDERED.

                                                       ________________________________
                                                       WILLIAM L. CAMPBELL, JR.
                                                       UNITED STATES DISTRICT JUDGE




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